 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2056 Page 1 of 17




        CHAD A. READLER                         Lee Gelernt*
 1
        Acting Assistant Attorney               Judy Rabinovitz*
 2      General                                 Anand Balakrishnan*
        SCOTT G. STEWART                        AMERICAN CIVIL LIBERTIES
 3
        Deputy Assistant Attorney               UNION FOUNDATION
 4      General                                 125 Broad St., 18th Floor
 5      WILLIAM C. PEACHEY                      New York, NY 10004
        Director                                T: (212) 549-2660
 6      Office of Immigration Litigation        F: (212) 549-2654
 7      U.S. Department of Justice              lgelernt@aclu.org
        WILLIAM C. SILVIS                       jrabinovitz@aclu.org
 8      Assistant Director                      abalakrishnan@aclu.org
 9      Office of Immigration Litigation
        SARAH B. FABIAN                         Bardis Vakili (SBN 247783)
10      Senior Litigation Counsel               ACLU FOUNDATION OF
11      NICOLE MURLEY                           SAN DIEGO & IMPERIAL
        Trial Attorney                          COUNTIES
12      Office of Immigration Litigation        P.O. Box 87131
13      U.S. Department of Justice              San Diego, CA 92138-7131
        Box 868, Ben Franklin Station           T: (619) 398-4485
14      Washington, DC 20442                    F: (619) 232-0036
15      Telephone: (202) 532-4824               bvakili@aclusandiego.org
        Fax: (202) 616-8962
16                                              Stephen B. Kang (SBN 292280)
17      ADAM L. BRAVERMAN                       Spencer E. Amdur (SBN 320069)
        United States Attorney                  AMERICAN CIVIL LIBERTIES
18      SAMUEL W. BETTWY                        UNION FOUNDATION
19      Assistant U.S. Attorney                 39 Drumm Street
        California Bar No. 94918                San Francisco, CA 94111
20      Office of the U.S. Attorney             T: (415) 343-1198
21      880 Front Street, Room 6293             F: (415) 395-0950
        San Diego, CA 92101-8893                skang@aclu.org
22      619-546-7125                            samdur@aclu.org
23      619-546-7751 (fax)
                                                Attorneys for Petitioners-
24      Attorneys     for      Federal          Plaintiffs
25      Respondents-Defendants                  *Admitted Pro Hac Vice
26
27
28
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2057 Page 2 of 17




 1
 2                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA
 3
            MS. L, et al.,                               Case No. 18cv428 DMS MDD
 4
                      Petitioners-Plaintiffs,
 5                                                       JOINT STATUS REPORT
            vs.                                          REGARDING REUNIFICATION
 6
            U.S. IMMIGRATION AND
 7
            CUSTOMS ENFORCEMENT, et
 8          al.,
 9                    Respondents-Defendants.
10
11                 On July 10, 2018, this Court held a status conference, and ordered the
12
            parties to file a joint report on July 112, 2018 regarding the ongoing
13
14          reunification process. The parties submit this joint status report in accordance
15          with the Court’s instruction.
16
     I.     DEFENDANTS’ POSITIONS
17
18        A. Defendants are in Compliance With The Court’s Order
19           Defendants are in compliance with the Court’s order. Defendants have now
20
      reunified 57 children identified by Defendants and this Court as eligible for
21
22 reunification at the status conference on July 10, 2018. Of the 63 identified by the
23
      Court, 6 were ultimately determined not to be eligible for reunification after further
24
      information was obtained regarding either parentage or the criminal background of
25
26 the parent. Additionally, Defendants identified one additional family with a child
27
28

                                                1                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2058 Page 3 of 17



     under age 5 that was eligible for reunification, and was able to reunify that family
 1
 2 as well.
 3
     For these children, cases were resolved as follows:
 4
 5     • 6 were determined not to be eligible for reunification following completion
         of parentage and background checks:
 6           o 3 had parents with serious criminal history
 7           o 1 was excluded because the accompanying adult was not the parent of
                that child
 8           o 1 was excluded on suspicion of not being the parent or of posing a risk
 9              to the child, because the accompanying adult presented a false birth
                certificate
10           o 1 had a parent who was determined to be in the custody of the U.S.
11              Marshals, not in ICE custody as previously believed

12     • 38 were reunified on or before July 10, 2018
13
       • 19 were reunified on July 11, 2018 (this number includes one additional child
14       who was identified by Defendants since their last submission to this Court)
15
       • 1 was reunified by 6:00 a.m. local time on July 12, 2018.
16
17         For the 20 children who were reunified on July 11 and 12, 2018,
18
     transportation arrangements had been made on July 10, but could not be completed
19
     for logistical reasons specific to each case until July 11 and July 12. Defendants
20
21 detail below the reasons for any delay in reunification, as well as the reasons why
22
     21 of the parents of children originally believed to be class members were
23
     ultimately determined not to be members of the class due to criminal history,
24
25 danger to the child, or not being the parent.
26
27
28

                                               2                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2059 Page 4 of 17



        Criminal background of adults excluded from the class:
 1
     1. Warrant for murder in Guatemala
 2
     2. Child cruelty and narcotics convictions
 3   3. Suspected transnational criminal organization involvement and human
        trafficking
 4
     4. Outstanding criminal warrant in El Salvador
 5   5. 2 DUI convictions
 6   6. Significant criminal history including assault conviction
     7. Outstanding warrant in Florida for DUI
 7   8. DUIs, assault, stolen vehicle
 8   9. Robbery conviction
     10.Wanted by El Salvador
 9   11.Criminal charges including assault
10      Not a parent or parentage in question:
11   12.Adult said he is uncle, not father
12   13.Negative DNA match, adult indicated he is not the child’s father
     14.Adult said she is grandmother, not mother
13   15.During DNA testing, adult disclosed she is not the child’s mother
14   16.Negative DNA match, still under investigation
     17.Adult disclosed that she is grandmother, not the parent
15   18.Adult presented false birth certificate, still under investigation
16
        Release presents danger to the child:
17
     19.Before court order, adult was required to submit information and fingerprints
18      of other adults in household where she will live with the child; background
19      check on adult male in household shows an active warrant for aggravated
        criminal sexual assault of a 10-year-old female.
20   20.Child made allegations of abuse against adult
21
        Communicable Disease
22
23   21.Parent is being treated for communicable disease in ICE custody

24      Reunifications completed on July 11 and 12:
25   1. Reunification in ICE custody completed at midnight Pacific time on 7/10,
26      3:00 a.m. Eastern on 7/11
     2. Reunification was scheduled for 10:30 p.m. Pacific time on 7/10, 12:30 am
27      Central time on 7/11
28

                                           3                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2060 Page 5 of 17



       3. Reunification was scheduled for 10:30 p.m. Pacific time on 7/10, 12:30 am
 1
          Central time on 7/11
 2     4. Parental verification was not complete; adult and child were in distant
          locations in New York state, reunification occurred before noon on 7/11.
 3
       5. Reunification was scheduled for 10:30 p.m. Pacific time on 7/10, 12:30 am
 4        Central time on 7/11
 5     6. Reunification was scheduled for 10:30 p.m. Pacific time on 7/10, 12:30 am
          Central time on 7/11
 6     7. Reunification in ICE custody completed at midnight Pacific time on 7/10,
 7        3:00 a.m. Eastern on 7/11
       8. Reunification was scheduled for 10:30 p.m. Pacific time on 7/10, 12:30 am
 8        Central time on 7/11
 9     9. Parental verification was not complete; child placed on flight at 9:55 p.m.
          Pacific time 7/10, reunification occurred at 5:35 a.m. Eastern 7/11
10     10.Parental verification was not complete; Texas, reunification complete 7/11
11     11.Parental verification was not complete; adult was in Texas and child was in
          Maryland, reunification completed on 7/11
12     12.Parental verification was not complete; Texas, reunification complete 7/11
13     13.Parental verification was not complete; Texas, reunification complete 7/11
       14.Parental verification was not complete; parent was in Louisiana and child in
14        New York, reunification completed 6:00 a.m. on 7/12
15     15.Parental verification was not complete; parent was in Texas and child in
          Arizona, reunification completed on 7/11
16     16.Parental verification was not complete; child was in New York and parent
17        was released to the interior, reunification in Georgia complete 7/11
       17.Parental verification was not complete; discharge was coordinated with
18        discharge of sibling 5 years of age or older, reunification completed on 7/11
19     18.Parental verification was not complete; child was in New York and parent
          was released to the interior, reunification in Georgia complete 7/11
20     19.Parental verification was not complete; child was in New York and parent
21        was released to the interior in Texas, reunification complete in Texas 7/11
       20.Parental verification was not complete; child was in Illinois and parent was
22        released to the interior, reunification in Texas complete 7/11
23
           The 23 remaining children aged 0–4, who HHS originally listed as possible
24
25 candidates for reunification under the Court’s order, cannot currently be reunified
26 with their parents because: their parents are in criminal custody (11), or their
27
28

                                              4                              18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2061 Page 6 of 17



     parents have been removed (12) and they will be considered for reunification on a
 1
 2 timetable to be determined as Plaintiffs and Defendants work together to locate
 3
     those parents and determined if they wish to be reunified. One child on the original
 4
 5 list has a parent who may or may not be a United States citizen (insufficient
 6 information is available to make this determination, and the parent and others are
 7
     not available to provide that information). The child was separated from her parent
 8
 9 in 2015 when her parent was arrested on an outstanding warrant by the U.S.
10 Marshals Service. Defendants have not been aware of the parent’s location since
11
     then and they remain unable to locate that parent. Because the parent is not
12
13 available, it is not possible to reunite the child with the parent. Unless the parent is
14 located, HHS will provide care and seek placement for the child using its ordinary
15
     programs and procedures.
16
17      B. HHS Truncated Processes to Comply With the July 10, 2018 Order

18         In its July 10, 2018 ruling and order, the Court instructed Defendants to
19
     release children on Defendants’ list who Defendants associated with adults in ICE
20
21 custody, and whose affirmative parental verification, including DNA testing, had
22 not yet been completed. The Court also instructed that reunification should not be
23
   delayed for HHS to affirmatively verify parental status.
24
25       There were 16 such adults in ICE custody. Of those: 1 was found to be in
26 Marshal’s custody, not in ICE custody; 1 DNA test result came back negative prior
27
28

                                               5                               18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2062 Page 7 of 17



     to the Court’s deadline, causing good faith concern about parentage and risk to the
 1
 2 child; and 1 was found to have presented a false birth certificate, also causing good
 3
     faith concern about parentage and risk to the child. For the other 13 adults, HHS
 4
 5 transferred the children to ICE for reunification with those adults without further
 6 parental verification process.
 7
           The Court’s order also required Defendants, by the Court’s deadline, to
 8
 9 reunify 8 children who Defendants had associated with adults previously released
10 to the interior of the United States. At the time of the Court’s order, HHS had not
11
     yet completed parental verification of those purported parents, nor had HHS
12
13 received all biographical or fingerprint information that it requested for any other
14 adults who would be living in the same household upon release of the child.1 HHS
15
     was able to confirm parentage of 1 of the 8 adults prior to the deadline. For the
16
17 remaining 7 of the 8 adults, in compliance with the Court’s order, HHS released
18 the children to the adults despite not having completed its affirmative verification
19
   that those adults were the parents. HHS also did not complete any background
20
21 checks on other adults living in the same households as the children upon release.
22       C. Reunification With Removed Parents
23
24
25   1
    In at least one instance where background investigations of cohabitants were
26 completed prior to the Court’s deadline, HHS found that an adult in the household
   had an outstanding warrant for aggravated sexual abuse of a 10-year-old child.
27
28

                                              6                             18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2063 Page 8 of 17



           With regard to those children whose parents are removed, Defendants are
 1
 2 working with Plaintiffs’ counsel to locate those parents and to provide them notice
 3
     to determine if they wish to be reunified with their children. It is difficult to
 4
 5 determine how much time will be necessary for those reunification until the
 6 parents are contacted and it can be determined what those reunifications would
 7
     entail. Defendants ask the Court to allow those reunifications to occur on a flexible
 8
 9 schedule, and propose that for each such child for whom reunification is requested,
10 once the parent is located and the request for reunification is made, Defendants
11
     will work with Plaintiffs’ counsel to identify the steps that need to be taken for
12
13 reunification and determine a reasonable amount of time to complete that process.
14 If the Court is inclined to set a definitive timeframe, Defendants request that any
15
     deadline begin on the date that Defendants receive travel documents for the child.
16
17      C. Individuals in State Custody

18         Defendants understand that Plaintiffs will reach out to class members in state
19
     criminal custody to ensure that they contact ORR following their release if they
20
21 wish to be reunified with their child. Defendants will provide Plaintiffs with any
22 information they have about class members who are sent to state criminal custody
23
   to assist in these communications.
24
25
26
27
28

                                                 7                               18cv428 DMS MDD
 Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2064 Page 9 of 17



           D. Reporting:
 1
 2           Defendants agree that no later than July 13, 2018, they will provide
 3 Plaintiffs’ counsel with a list of identified class members in ICE custody.
 4
   Defendants also agree that no later than July 13, 2018, they will provide Plaintiffs’
 5
 6 counsel with a list of identified children of class members. Defendants agree to
 7 meet and confer with Plaintiffs about the provision of additional information.
 8
   Defendants are aware that Plaintiffs are requesting to receive a chart with the level
 9
10 of detail that was provided regarding the minors under-age-5, however the
11 compilation of that information took a significant amount of time on the part of
12
   operators whose time would be better spent facilitating reunification and
13
14 production of the same level of detail on a much larger scale is not operationally
15 feasible under the current timeframes. Defendants request the opportunity to
16
   continue to meet and confer with Plaintiffs to see if there is an option that would
17
18 provide Plaintiffs with the information that they need while minimizing demands
19
     on the part of agency operators.
20
     II.     PLAINTIFFS’ POSITIONS
21
22           A. Reunifications of Children Under Five
23           1. As of today, Defendants represent that they have reunified 58 Class
24 Members. Of the 103 Class Members Defendants initially identified, apparently
25 10 remain in criminal custody, 12 were deported, and 23 have apparently dropped
26 out of the class or are not eligible for reunification at this time, either because they
27
28

                                                8                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2065 Page 10 of 17




 1 had criminal histories, evidence of abuse, communicable diseases, or they were not
 2 actually the parents.
 3         2. Plaintiffs have not yet received any specific information about most of
 4 the 23 individuals who Defendants claim have dropped out of the class or are
 5 ineligible for reunification. Plaintiffs have therefore not been able to verify
 6 whether those parents are, indeed, Class Members eligible for reunification at this
 7 time. Plaintiffs have also not been able to determine whether any criminal
 8 convictions those parents have render them a danger to their children—and
 9 therefore not entitled to reunification at all—or merely not Class Members.
10         3. As for the 58 parents whom Defendants have apparently reunified,
11 Plaintiffs have no independent verification that these 58 parents have in fact been
12 reunited with their children. During the meet and confer process leading up to July
13 10, Defendants claimed that they would provide Plaintiffs’ counsel with notice of
14 the time and place for each reunification, so that Plaintiffs’ counsel could arrange
15 for private and NGO service providers to assist the families and verify
16 reunification. This did not happen. Defendants did not provide specific time and
17 place information for a single Class Member. Instead, Defendants only provided a
18 general prediction about how most Class Members would be reunified.
19         Defendants’ lack of communication about reunification logistics caused
20 significant problems over the last three days. Plaintiffs are now hearing about a
21 number of troubling situations from service providers and attorneys for Class
22 Members and their children. These problems include:
23       • ICE left one Class Member alone at a bus stop with her children, one of
24          whom was six months old. Through a series of phone calls between the
25          Class Member, her attorney, and another advocate, the Class Member
26          finally obtained a bus ticket on Tuesday around midnight.
27
28

                                              9                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2066 Page 11 of 17




 1       • One Class Member was transported through a series of ICE facilities in
 2           New Jersey and Michigan in a matter of days, with no prior notice to his
 3           counsel. ICE refused access to his counsel while he was detained in
 4           Michigan. Despite repeated requests by both the Class Member and his
 5           lawyer, ICE did not allow his counsel to be present at the point of
 6           reunification.
 7       • A Class Member was kept in an ICE office for most of the day of her
 8           originally-scheduled reunification. ORR had processed her children for
 9           release that day. ICE officers attempted to process her for release on an
10           ankle monitor. Due to an apparent computer malfunction, the officers
11           were unable to complete the process. At the end of the business day, the
12           ICE officers ceased their attempts and told the mother that she would be
13           sent back to detention without her children.
14         B. Parents Deported Without Their Children
15         1. Twelve Class Members with children under 5 remain separated, because
16 they have already been deported. Plaintiffs and their NGO partners are in the
17 process of trying to contact these parents. For those deported Class Members who
18 choose to be reunited with their children, Plaintiffs propose that the Court order
19 Defendants to reunify them within 7 days after the parent obtains travel documents
20 for the child. This deadline will ensure that these Class Members are promptly
21 reunified, and that any delay in obtaining travel documents does not affect
22 Defendants’ obligations.
23         2. Defendants have represented that case-specific complications might
24 necessitate further delay. In that situation, Plaintiffs propose that the parties meet
25 and confer about any individual case where the government presents specific,
26 concrete reasons why 7 days is not sufficient. If any disputes remain, the parties
27 can submit the dispute to the Court for a ruling. But the Court should reject any
28

                                              10                              18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2067 Page 12 of 17




 1 request from Defendants to extend or avoid setting a deadline, which may lead to
 2 indefinite delay. Indeed, to date, Plaintiffs are not aware of any specific steps
 3 Defendants have taken even to locate these 12 Class Members.
 4         C. Costs of Reunification
 5         Plaintiffs’ counsel have heard reports that some Class Members have been
 6 asked to pay for the costs of reunification, such as transportation costs (and
 7 possibly DNA testing). For example, Plaintiffs’ counsel was informed that one
 8 Class Member was initially told to wire around $1,900 to Western Union to pay for
 9 reunification; another Class member arranged to pay for a plane ticket before being
10 told to cancel the ticket because someone else was purchasing a flight for the child.
11         It is not acceptable for Defendants to make compliance with this Court’s
12 injunction contingent on Class Members paying thousands of dollars to reunify
13 with their children. Plaintiffs therefore ask the Court to order Defendants not to
14 charge Class Members for any of the costs of reunification, including DNA testing
15 and air travel, and to reimburse any individuals who were in fact charged.
16         D. Remedies for Non-Compliance
17         Defendants claim that only 58 parents were eligible for reunification as of
18 the July 10 deadline. As noted above, Plaintiffs have not been given sufficient
19 information to verify the accuracy of that eligibility number.
20         In any event, Defendants concede that they did not meet the July 10 deadline
21 even for these 58 Class Members. This morning, Defendants informed Plaintiffs’
22 counsel that only 38 Class Members were reunified by the Court’s deadline. The
23 other 20 children were not returned to their parents until after July 10. In light of
24 this non-compliance, Plaintiffs propose specific remedies in order to ensure that
25 Defendants do not miss future deadlines. See infra Section E.
26         E. Class Members with Children 5 and Older
27
28

                                              11                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2068 Page 13 of 17




 1         As noted above, Plaintiffs believe that open communication and planning in
 2 advance are critical to ensure that Defendants do not miss the future deadlines
 3 ordered by the Court.
 4         The past week has highlighted these concerns. Plaintiffs wrote to
 5 government counsel on July 2 to ask for a list of class members and reunification
 6 plans. The government did not provide any of this information before the July 6
 7 status conference, when the Court ordered Defendants to produce the list the next
 8 day. That list, however, did not contain the parents’ names or A numbers.
 9 Defendants did not provide that critical information necessary to locate and track
10 Class Members until the next day—two days before the deadline.
11         When the deadline arrived, Defendants had not completed parentage
12 verification or background checks for many of the class members with children
13 under 5. The failure to complete these steps in advance delayed reunification for
14 more than a dozen class members until after the deadline. And despite promising
15 to provide advance notice of the time and place for each reunification, Defendants
16 provided no specific information to Plaintiffs’ counsel. As a result, Class
17 Members’ individual lawyers and service providers were left frantically scrambling
18 to find their clients and provide support.
19         The following seven (7) steps are designed to address each of these failures:
20         1. Defendants must provide Plaintiffs with a Class List for the remaining
21 Class Members by Monday, July 16, with all of the information that Defendants
22 provided for the children under 5. To ensure that reunification plans are not
23 formulated haphazardly at the last minute, this Class List should also contain
24 complete information regarding Defendants’ plans for reunifying each Class
25 Member, which was not provided for the children under 5.
26         2. Defendants must complete all parentage verifications and background
27 checks by Thursday, July 19. These steps, which must be completed prior to
28

                                                12                          18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2069 Page 14 of 17




 1 reunification, should already be in progress or completed. One week from today
 2 should be more than enough time to complete them.
 3         3. Starting Tuesday, July 17—the day after Defendants must provide the
 4 Class List (see above, item 1)—Defendants should file with the Court a daily
 5 report regarding the number of reunifications that have occurred that day.
 6         4. Defendants must provide Plaintiffs’ counsel, as well as Class Members’
 7 immigration lawyers (if any), with at least 24 hours advance notice of the time,
 8 place, and location of reunification. Defendants should also allow Class Members’
 9 immigration counsel access to the site of reunification.
10         5. For separated parents whom Defendants determine are not Class
11 Members, Defendants must provide Plaintiffs’ counsel with detailed reasons why a
12 putative Class Member was excluded from the Class List, including, at a
13 minimum: any criminal convictions or charges; any allegations of abuse or
14 unfitness; or the specific reasons why parentage could not be verified.
15         6. If Defendants choose to reunite Class Members in family detention
16 facilities, they should provide immediate access to immigration lawyers who can
17 advise the Class Members of their rights. DHS facilities frequently place
18 unwarranted restrictions on counsel access, such as limiting the rooms available to
19 meet with lawyers, or adopting restrictive phone policies. Any lawyer seeking to
20 meet with a Ms. L. Class Member should be provided immediate access to a
21 private facility where the Class Member can be counseled on his or her rights.
22 This is particularly important if that Class Member has received a removal order.
23         7. Defendants must establish a fund to pay for professional mental health
24 counseling, which will be used to treat children who are suffering from severe
25 trauma as a result of their forcible separation from their parents. The amount can
26 be set at a later time, subject to further negotiations between the parties and rulings
27 from the Court. Although many medical professionals have graciously offered pro
28

                                              13                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2070 Page 15 of 17




 1 bono services for the children, who plainly are in desperate need of counseling,
 2 these medical professionals should not have to assume the costs associated with the
 3 government’s policy, especially not their out-of-pocket expenses.
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            14                            18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2071 Page 16 of 17




 1      DATED: July 13, 2018                Respectfully submitted,
 2                                   /s/ Lee Gelernt
 3                                   Lee Gelernt*
                                     Judy Rabinovitz*
 4                                   Anand Balakrishnan*
 5                                   AMERICAN CIVIL LIBERTIES UNION
                                     FOUNDATION
 6                                   125 Broad St., 18th Floor
 7                                   New York, NY 10004
                                     T: (212) 549-2660
 8                                   F: (212) 549-2654
 9                                   lgelernt@aclu.org
                                     jrabinovitz@aclu.org
10                                   abalakrishnan@aclu.org
11
                                     Bardis Vakili (SBN 247783)
12                                   ACLU FOUNDATION OF SAN DIEGO
13                                   & IMPERIAL COUNTIES
                                     P.O. Box 87131
14                                   San Diego, CA 92138-7131
15                                   T: (619) 398-4485
                                     F: (619) 232-0036
16                                   bvakili@aclusandiego.org
17
                                     Stephen B. Kang (SBN 292280)
18                                   Spencer E. Amdur (SBN 320069)
19                                   AMERICAN CIVIL LIBERTIES UNION
                                     FOUNDATION
20
                                     39 Drumm Street
21                                   San Francisco, CA 94111
                                     T: (415) 343-1198
22
                                     F: (415) 395-0950
23                                   skang@aclu.org
                                     samdur@aclu.org
24
25                                   Attorneys for Petitioners-Plaintiffs
                                           *Admitted Pro Hac Vice
26
27
28

                                       15                             18cv428 DMS MDD
Case 3:18-cv-00428-DMS-MDD Document 104 Filed 07/12/18 PageID.2072 Page 17 of 17



                                     CHAD A. READLER
 1                                   Acting Assistant Attorney General
 2                                   SCOTT G. STEWART
                                     Deputy Assistant Attorney General
 3                                   WILLIAM C. PEACHEY
 4                                   Director
                                     WILLIAM C. SILVIS
 5                                   Assistant Director
 6
                                     /s/ Sarah B. Fabian
 7                                   SARAH B. FABIAN
 8                                   Senior Litigation Counsel
                                            NICOLE MURLEY
 9                                          Trial Attorney
10                                   Office of Immigration Litigation
                                     Civil Division
11                                   U.S. Department of Justice
12                                   P.O. Box 868, Ben Franklin Station
                                     Washington, DC 20044
13                                   (202) 532-4824
14                                   (202) 616-8962 (facsimile)
                                     sarah.b.fabian@usdoj.gov
15
16                                   ADAM L. BRAVERMAN
                                     United States Attorney
17                                   SAMUEL W. BETTWY
18                                   Assistant U.S. Attorney
19
                                     Attorneys for Respondents-Defendants
20
21
22
23
24
25
26
27
28

                                      16                           18cv428 DMS MDD
